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                IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF DELAWARE

                                             )
                                             )   Chapter Ii
In re:                                       )
                                             )   Case No. 01-01139 (JKF)
W. R. GRACE & CO., et aL,                    )   (Jointly Administered)
                                             )
                              Debtors.       )
                                             )


  COMPENDIUM OF EXHIBITS TO JOINT PRE-TRIAL MEMORANDUM OF
  THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS AND BANK
    LENDER GROUP IN OPPOSITION TO CONFIRMATION OF FIRST
                  AMENDED JOINT PLAN OF
  REORGANIZATION UNDER CHAPTER 11 OF THE BANKRUPTCY CODE



Exhibit                                          Title

Ex. 1      Affidavit of Charles 0. Freedgood of JPMorgan Chase Bank, N.A., admitted
           into evidence by agreement during the “Phase I” confirmation hearings and
           filed June 26, 2009 and June 30, 2009

Ex. 2      Debtors’ Disclosure Statement for the First Amended Joint Plan of
           Reorganization Under Chapter 1 1 of the Bankruptcy Code of W.R. Grace &
           Co., et al., the Official Committee of Asbestos Personal Injury Claimants, the
           Asbestos PT Future Claimants’ Representative, and the Official Committee of
           Equity Security Holders Dated as of February 27, 2009 (excerpts)

Ex.   .    Debtors’ Objection to the Unsecured Claims Asserted Under the Debtors’
           Credit Agreements Dated as of May 14, 1998 and May 5, 1999, dated June 13,
           2008

Ex. 4      Memorandum Opinion, In re WR. Grace & Co., et al., No. 01-1 139, 2009 WL
           1469831, at 2 n.3 (Bankr. D. Del. May 19, 2009)


Ex. 5      June 18, 2009 Transcript of Proceedings Before The Honorable Judith K.
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          Fitzgerald (excerpts)

Ex. 6     June 22, 2009 Transcript of Proceedings Before The Honorable Judith K.
          Fitzgerald (excerpts)

Ex. 7     Responses & Objections of Debtors to Official Committee of Unsecured
          Creditors of W.R. Grace & Co. and Bank Lender Group’s First Request for
          Production of Documents, First Set of Interrogatories, and First Request for
          Admissions (excerpts)

Ex. 8     First Amended Joint Plan of Reorganization Under Chapter 1 1 of the
          Bankruptcy Code (February 27, 2009) (excerpts)

Ex. 9     Official Committee of Equity Holders’ Responses & Objections to the Official
          Committee of Unsecured Creditors of W.R. Grace & Co.’s and Bank Lender
          Group’s First Set of Interrogatories (excerpts)

Ex. 10    Declaration of Kevin A. Martin Certifying Tabulation of Ballots Regarding
          Vote on First Amended Joint Plan of Reorganization (excerpts)

Ex. 11    Letter agreement dated January 12, 2005

Ex. 12    Amended Joint Plan of Reorganization (Jan. 13, 2005) (excerpts)

Ex. 13    Amended Disclosure Statement for the Amended Joint Plan of Reorganization
          Pursuant to Chapter 11 of the United States Bankruptcy Code (Jan. 13, 2005)
          ( excerpts)
Ex. 14    Debtors Form 10K and Ex. 99-1 (Mar. 7, 2005)

Ex. 15    E-mail from Arlene Krieger to Janet Baer (with draft Plan Support Agreement
          Attached) (Feb. 18, 2005)

Ex. 16    E-mail from Janet Baer to Arlene Krieger (with K&E comments to draft Plan
          Support Agreement attached) (Mar. 16. 2005)

Ex. 17    E-mail from R. Tarola, CFO of Grace, to T. Maher, Chairman of Creditors’
          Committee (Feb. 14, 2006)

Ex. j     Letter Agreement dated February 27, 2006

Ex. 19    E-mail from J. Baer to R. Tarola, M. Shelnitz, et. al. (Feb. 27, 2006)

Ex. 20    April 7, 2008 Transcript of W.R. Grace & Co. Conference Call

Ex. 21    April 21, 2008 Letter by the Bank Lender Group to W.R. Grace’s counsel


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Ex.       S. Rep. No. 95-989, at 120 (1978) (excerpt)

Ex. 23    H.R. Rep. No. 95-595, at 353 (1977) (excerpt)

Ex. 24    H. Rep. No. 95-595 at 348 (1977) (excerpt)

Ex. 25    Debtors’ Trial Brief in Support of Objection to the Unsecured Claims Asserted
          Under the Debtors’ Credit Agreement dated as of May 14, 1998 and May 5,
          1999, dated Sept. 5, 2008 (excerpt)

Ex. 26    140 Cong. Rec. H10,768 (daily ed. Oct. 4, 1994) (excerpt)

Ex. 27    W.R. Grace & Co. stock quote at:
          http ://www.nyse.com/about/listed/lcddata.html?ticker=GRA

Ex. 28    Official Committee of Equity Security Holders’ Memorandum in Support of
          Debtors’ Motion to Exclude Certain Expert Opinions Relating to Current
          Future Asbestos Personal Injury Liability, dated Dec. 7, 2007 (excerpt)

Ex. 29    140 Cong. Rec. H10,752 (daily ed. Oct 4, 1994) (excerpt)

Ex. Q     Transcript, In Re Adelphia Commc’ns, No. 02-41729 (Bankr, S.D.N.Y. Apr.
          27, 2006)

Ex. 31    Transcript, In re Loral Space & Commc ‘ns Ltd., No. 03-4 1710 (Bankr,
          S.D.N.Y. July 25, 2005) (excerpt)

Ex. 32    July 21, 2008 Transcript of Proceedings Before the Honorable Judith K.
          Fitzgerald (excerpt)

Ex.       Compendium of Unreported Cases




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